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                                              6   9250 Wilshire Blvd., Suite 325
                                                                                  Attorneys for Defendants and Third-
                                                  Beverly Hills, CA 90212
                                              7                                   Party Plaintiff,
                                                  Telephone: 310-777-8399         OMNIVERSE ONE WORLD
                                              8   Facsimile: 310-777-8348         TELEVISION, INC. and JASON M.
                                                                                  DEMEO
                                              9                   UNITED STATES DISTRICT COURT
                                                             FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                             10
                                             11    PARAMOUNT PICTURES
                                                                                         CASE NO. 2:19-cv-01156-MFW-ASx
                                                   CORPORATION; COLUMBIA
                                             12    PICTURES INDUSTRIES, INC.;            DECLARATION OF KEVIN R. DAVIS
                                                   DISNEY ENTERPRISES, INC.;             IN SUPPORT OF THIRD-PARTY
TROJAN LA W OFFI CES




                                             13
                                                                                         PLAINTIFF OMNIVERSE ONE
                                                   TWENTIETH CENTURY FOX FILM            WORLD TELEVISION, INC.’S
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                                                   CORPORATION; WARNER BROS              NOTICE OF FILING OF PROOF OF
                                             15    ENTERTAINMENT, INC.;                  ALTERNATIVE SERVICE ON
                                                                                         HOVSAT, INC. PURSUANT TO
                                                   UNIVERSAL CITY STUDIOS                N.J.S.A. 2A:15-30.1
                                             16
                                                   PRODUCTIONS LLLP;
                                             17    UNIVERSAL TELEVISION LLC;             DEMAND FOR JURY TRIAL
                                                   and UNIVERSAL CONTENT                 Judge: Hon. Michael W. Fitzgerald
                                             18
                                                   PRODUCTIONS LLC,
                                             19                   Plaintiffs,
                                                        v.
                                             20
                                                   OMNIVERSE ONE WORLD
                                             21    TELEVISION, INC.; JASON M.
                                                   DEMEO,
                                             22                  Defendants.
                                             23
                                                   OMNIVERSE ONE WORLD
                                             24    TELEVISION, INC.,
                                                        Third-Party Plaintiff,
                                             25      v.
                                                   HovSat, Inc.; Shant Hovnanian; and
                                             26    DOES 1-10, inclusive,

                                             27          Third-Party Defendants.

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                                           Case 2:19-cv-01156-MWF-AS Document 83-1 Filed 09/09/20 Page 2 of 4 Page ID #:704



                                              1
                                                  I, Kevin R. Davis, hereby declare and state that:
                                              2
                                                         1.     I am an attorney at law, duly licensed to practice law in the State of
                                              3
                                                  California and in the United States District Court for the Central District of
                                              4
                                                  California. I am an attorney at Trojan Law Offices, the attorneys of record for third-
                                              5
                                                  party plaintiff Omniverse One World Television, Inc. (“Omniverse”) in the above
                                              6
                                                  referenced action. If called upon to do so, I could and would testify that:
                                              7
                                                         2.     As suggested by the Court (see Dkt. #78), and pursuant to N.J.S.A. §
                                              8
                                                  2A:15-30.1(b), process may be served on the State official or agency if the business
                                              9
                                                  entity has failed to re-register as required by law, or if the business entity has failed
                                             10
                                                  to maintain a registered agent in New Jersey for service of process as required by
                                             11
                                                  law.
                                             12
                                                         3.     As reflected by the Mr. Havinghorst’s letter (Dkt. #59) and HovSat,
TROJAN LA W OFFI CES




                                             13
                                                  Inc.’s Entity Status Report, (Dkt. #72-4), HovSat, Inc. has failed re-register as
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                                                  required by law, and has failed to maintain a registered agent in New Jersey for
                                             15
                                                  service of process, as required by law.
                                             16
                                                         4.     Pursuant to N.J.S.A. § 2A:15-30.1(b), on August 28, 2020, the following
                                             17
                                                  documents were served on the New Jersey Department of Treasury by serving the
                                             18
                                                  documents in a secure Dropbox with a check, as reflected by the Proof of Service
                                             19
                                                  attached as Exhibit 1: Summons, Third-Party Complaint, Civil Coversheet, and
                                             20
                                                  Declaration of Kevin R. Davis in Support of Alternative Service Pursuant to N.J.S.A.
                                             21
                                                  2A:15-30.1.
                                             22
                                                         5.     Due to the closure of the physical location of the New Jersey
                                             23
                                                  Department of Treasury because of COVID-19, I emailed the New Jersey Department
                                             24
                                                  of Treasury on September 2, 2020 to confirm the New Jersey Department of Treasury
                                             25
                                                  had properly received the Summons for HovSat, Inc., as reflected by the email
                                             26
                                                  attached as Exhibit 2.
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                                                        6.    On September 8, 2020, Teresa Jewell of the New Jersey Department of
                                              2
                                                  Treasury, Division of Revenue and Enterprise Service confirmed that the New Jersey
                                              3
                                                  Department of Treasury received the Third-Party summons for HovSat, Inc., as
                                              4
                                                  reflected by the emails attached as Exhibit 3. Hence, service is complete under
                                              5
                                                  N.J.S.A. § 2A:15-30.1.
                                              6
                                              7
                                                        I declare under penalty of perjury under the laws of the United States of
                                              8
                                                  America that the foregoing is true and correct to the best of my knowledge. Executed
                                              9
                                                  this 9th day of September, 2020 in Beverly Hills, California.
                                             10
                                             11
                                             12                                                      /s/Kevin R. Davis
                                                                                                     Kevin R. Davis
TROJAN LA W OFFI CES




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                                              1
                                                                                    CERTIFICATE OF SERVICE
                                              2
                                                         I hereby certify that on the 9th day of September 2020, I caused to have electronically
                                              3
                                                  filed the foregoing with the Clerk of the Court using the CM/ECF system which will send
                                              4
                                                  notification of such filing to the following:
                                              5

                                              6          Rose Leda Ehler      dkt-filings@mto.com, cynthia.soden@mto.com, rose.ehler@mto.com
                                              7
                                                         Melinda E LeMoine        loren.rives@mto.com, melinda.lemoine@mto.com
                                              8
                                                         Usha Chilukuri Vance       aileen.beltran@mto.com, raphael.sepulveda@mto.com,
                                              9
                                                         usha.vance@mto.com
                                             10
                                                         Anne K Conley       carol.jette@mto.com, anne.conley@mto.com
                                             11
                                             12          Glenn D Pomerantz        cherryl.tillotson@mto.com, glenn.pomerantz@mto.com
TROJAN LA W OFFI CES




                                             13
                                                         Mark R Yohalem        mark.yohalem@mto.com
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                                             14
                                             15
                                                                                                  TROJAN LAW OFFICES
                                             16
                                                                                                  by
                                             17
                                                                                                  /s/ R. Joseph Trojan
                                             18                                                   R. Joseph Trojan
                                                                                                  9250 Wilshire Blvd.
                                             19
                                                                                                  Beverly Hills, CA
                                             20                                                   Attorney for Defendants and
                                                                                                   Third-Party Plaintiff,
                                             21                                                   OMNIVERSE ONE WORLD
                                                                                                  TELEVISION, INC., and
                                             22                                                   JASON M. DEMEO
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